Case 1:21-cv-21537-JAL Document 51 Entered on FLSD Docket 10/04/2021 Page 1 of 45




                          UNITED STATES DISTRICT COURT
                          SOUTHERN DISTRICT OF FLORIDA

                        CASE NO. 21-21537-CIV-LENARD/LOUIS

  ROY S. SHIVER, JR.,

          Plaintiff,

  v.

  CITY OF HOMESTEAD, FLORIDA,
  GEORGE GRETSAS,
  TOM MEAD, and
  RICKY RIVERA,

        Defendants.
  _____________________________________/

        ORDER GRANTING DEFENDANT GEORGE GRETSAS’S MOTION TO
        DISMISS SECOND AMENDED COMPLAINT (D.E. 35) AND GRANTING
       HOMESTEAD DEFENDANTS’ MOTION TO DISMISS SECOND AMENDED
                   COMPLAINT WITH PREJUDICE (D.E. 36)

          THIS CAUSE is before the Court on Defendant George Gretsas’s Motion to

  Dismiss Second Amended Complaint, (D.E. 35), filed August 23, 2021. Plaintiff Roy S.

  Shiver, Jr. filed a Response on September 7, 2021, (D.E. 41), to which Gretsas filed a Reply

  on September 14, 2021, (D.E. 42).

          Also before the Court is Defendants the City of Homestead Florida, Tom Mead, and

  Ricky Rivera’s (the “Homestead Defendants”) Motion to Dismiss Second Amended

  Complaint with Prejudice, (D.E. 36), filed August 23, 2021. Plaintiff filed a Response on

  September 7, 2021, (D.E. 40), to which the Homestead Defendants filed a Reply on

  September 14, 2021, (D.E. 43).
Case 1:21-cv-21537-JAL Document 51 Entered on FLSD Docket 10/04/2021 Page 2 of 45




         Upon review of the Motions, Responses, Replies, and the record, the Court finds as

  follows.

  I.     Background

         a.     Factual allegations1

         At all material times, Defendant Gretsas was the City Manager for the City of

  Homestead, Florida, with ultimate and final policy-making authority and power over all

  personnel decisions, public records policy, and policing policy. (Second Am. Compl. ¶

  22.) At all material times, Defendants Mead and Rivera were police detectives for the City

  of Homestead. (Id. ¶ 24.)

         Plaintiff is a life-long resident of the City of Homestead. (Id. ¶ 18.) He served three

  terms on the Homestead municipal council, including two terms as mayor. (Id.) He was

  later appointed County Manager for Miami-Dade County, Florida. (Id.) He subsequently

  joined the private sector, eventually becoming the Executive Director of the South Florida

  Police Benevolent Association (“SFPBA”). (Id.)

         Throughout his career, Plaintiff remained outspoken about politics and civic causes

  in Homestead, which made him a “target.” (Id. ¶ 19.) “Upon information and belief,

  Defendant Gretsas began assembling a Dossier against Plaintiff as soon as Plaintiff began

  to speak against Gretsas publicly and online and continued at least through 2019.” (Id. ¶

  20.) “Plaintiff, unbeknownst to him, was also included in another Dossier prepared against

  a different perceived adversary of Gretsas, HPD Captain William Rea.” (Id.) “Throughout


         1
                 The following facts are gleaned from Plaintiff’s Second Amended Complaint, (D.E.
  32), and are deemed to be true for purposes of ruling on the Motions to Dismiss.
                                                2
Case 1:21-cv-21537-JAL Document 51 Entered on FLSD Docket 10/04/2021 Page 3 of 45




  this time, Defendant Gretsas, released false and misleading information he had gathered

  and created against Plaintiff within the scope of his employment with the City, causing

  Plaintiff to ultimately be terminated from his job with an unrelated employer, publicly

  humiliated and ultimately losing his race for mayor.” (Id. ¶ 21.)

         The Second Amended Complaint alleges that Plaintiff engaged in three separate

  “protected activities” for purposes of his claims of retaliation:

     • Protected Activity I – Plaintiff published online and publicly about
       waste, fraud, and abuse within the City’s government, including about
       Defendant Gretsas:

                26. On May 20, twice on May 24, June 24, and July 5, 2017, Plaintiff
         in Facebook posts criticized and raised questions about significant
         construction projects proposed or supported by Gretsas and other
         government abuse in Homestead. Also in 2017, Plaintiff publicly spoke to
         various persons about the same issues.

     • Protected Activity II – Confronting members of the HPD about
       improper policing of Plaintiff in Homestead:

                 27. On May 20th, 2019, Plaintiff wrote on Facebook about the
         defamation and police harassment of himself and family and complained to
         HPD Captain Scott Kennedy that he was tired of getting maligned and
         defamed by Defendant Gretsas. Thereafter, Plaintiff spoke again to Captain
         Scott Kennedy at Plaintiff’s place of business and similarly expressed his
         frustrations. Likewise, beginning on July 1, 2019, Plaintiff communicated
         with Defendant Mead via text messages and on the telephone, requesting that
         the HPD should leave him alone.

     • Protected Activity III – Plaintiff Running for City Mayor:

                28. On July 1, 2019, Plaintiff announced a run for mayor of
         Homestead, and spoke out freely about his position on political and civic
         issues, criticizing Homestead’s government and management at the time.
         Plaintiff communicated his criticisms via Facebook, in public speeches,
         campaign events, and personal conversations.

  (Id. ¶¶ 26-28.)
                                                3
Case 1:21-cv-21537-JAL Document 51 Entered on FLSD Docket 10/04/2021 Page 4 of 45




         The Second Amended Complaint alleges that Defendants took four adverse actions

  against Plaintiff in response to his protected activities:

     • Adverse Action I – Improperly gathering information about Plaintiff:

                29. On May 22, 2017, two days after Plaintiff began to speak out (see
         ¶26, supra), Homestead citizen Pat Pascuzzo wrote an email to Miami Herald
         Reporter Monique O. Madan, with the subject “More Info Shiver Stuff:” In
         the email, Mr. Pascuzzo wrote: “The City of Homestead has a detective that
         serves as the FBI liaison, his name is Tom Mead. Tom Mead is in charge of
         the Shiver/Homestead investigation. He has brought the FBI up to date
         because they needed subpoenas for financials.”

                30. On the flash drives left behind by Defendant Gretsas after his
         firing from the City of Delray Beach in 2020, and from targeted public
         records request thereafter, Plaintiff found evidence of the following instances
         of improper information gathering by HPD officers at the direction of or with
         the knowledge of Defendant Gretsas:

                 31. June 4, 2018, Defendant Gretsas prepared a memorandum seeking
         an “inventory of every failure [Plaintiff] has had.” In the memorandum, City
         manager Gretsas ordered Defendants Mead and Rivera to investigate
         numerous legal cases in Tennessee and North Carolina, and to access all
         negative information they could find on Plaintiff. The memorandum also
         asked for negative information on Plaintiff’s father, Roy S. Shiver,
         councilman in neighboring Florida City. This memorandum was a blueprint
         for the retaliatory investigation to be undertaken against Plaintiff.

                 32. Defendants Rivera and Mead complied with Defendant Gretsas’
         instructions and searched for and seized information concerning Defendant
         Shiver. They, and possibly other members of the HPD, used municipal
         resources to follow and investigate Plaintiff, his wife, his father, and his
         associates and friends without probable cause or reasonable suspicion of
         illegal activities, solely for the purpose of developing damaging information
         about Plaintiff.

                 33. HPD officers took secret photographs, entirely outside of an
         official investigation into any wrongdoing, far outside City limits, of
         Plaintiff’s associates placing election signs throughout Miami-Dade County.
         Employees of the HPD thus acted as a rogue unit controlled by Defendant
         Gretsas, with his explicit knowledge and/or approval, for purposes not
         related to the legitimate exercise of police power.
                                                 4
Case 1:21-cv-21537-JAL Document 51 Entered on FLSD Docket 10/04/2021 Page 5 of 45




               34. Detective Rivera illegally accessed Plaintiff’s Drivers Information
        seeking adverse information concerning Plaintiff. Defendant Rivera
        knowingly obtained, disclosed or used the personal information of Plaintiff
        from the DAVID/NCIC/FCIC motor vehicle records for a use not permitted
        and by making a false representation to obtain information negative
        concerning Plaintiff. Doing so, he violated 18 U.S.C. §2722 (Prohibition on
        release and use of certain personal information from state motor vehicle
        records related to illegal searches of restricted government databases).

               35. Further, Defendant Mead, who was the HPD’s FBI Liaison,
        actually obtained from federal resources two Banking Suspicious Activity
        Reports (“SARs”) regarding Plaintiff, and then sent these confidential reports
        to City officials and to Defendant Gretsas via Gretsas’ personal Gmail
        account.

               36. Perhaps the most depraved discovery found in the flash drives and
        emails retrieved in public information requests was a scheme spear-headed
        by Defendant Gretsas to collect physical “evidence” from the garbage of
        Plaintiff. Email chains obtained in public records requests clearly show that
        Plaintiff’s garbage was “collected” by a private individual outside of the City
        boundaries, and then transported to a location inside the City limits and
        placed in the back of a pick-up truck, to be collected there by HPD. The
        garbage bag allegedly contained straws with residue of cocaine and other
        incriminating items. Gretsas willingly accepted the garbage from the private
        individual who claimed to have collected it from Plaintiff’s house, and
        integrated some information gleaned from Plaintiff’s alleged trash into his
        PowerPoint presentations and lengthy memorandum, all in an effort to harm
        Plaintiff.

               37. Defendant Gretsas also requested, and Homestead City attorneys
        Weiss Serota Helfman obtained and provided to Gretsas, transcripts of a
        deposition given by Plaintiff in a personal bankruptcy case.

     • Adverse Action II – Creating public records with false or misleading
       information concerning Plaintiff:

               38. On or about May 15, 2019, Defendant Gretsas created a 228-page
        PowerPoint presentation, entitled “Miami Herald-Shiver Draft,” with
        negative information about Plaintiff, spanning 20 years of Plaintiff’s public
        service career. Much of the information was taken out of context and was
        false and/or misleading. The presentation also contained false information
        against former HPD Captain William Rae.
                                              5
Case 1:21-cv-21537-JAL Document 51 Entered on FLSD Docket 10/04/2021 Page 6 of 45




               39. The 228-page PowerPoint presentation also contained false
        information concerning Plaintiff’s father and business associates, and other
        false or misleading information. For example, the presentation contained a
        section called “Felon Sign Brigade” with photographs taken by HPD officers
        of election signs being legally set up by Plaintiff’s associates in Miami-Dade
        County.

              40. Defendant Gretsas also created a 30-page PowerPoint presentation
        for Reporter Michael Putney, containing more misrepresentations
        concerning Defendant Gretsas.

               41. Also on the flash drives was a crime-syndicate chart showing an
        entirely fake money laundering investigation against former Homestead
        Police Captain William Rea, in 2013, where Plaintiff Shiver was shown as a
        co-conspirator in the non-existing money laundering scheme. In reality, there
        never was such an investigation, and there definitely never was any money
        laundering activity on the part of Plaintiff. The fake money-laundering flow-
        chart also included Plaintiff’s father Roy S. Shiver and photos of business in
        neighboring Florida City, all without any connection to illegal activity
        whatsoever. The chart bears the misleading and libelous legend “at this time
        no subpoenas obtained or served.”

               42. One of the more shocking discoveries on Gretsas’ flash drives was
        a four-page fact sheet on Plaintiff, containing numerous pieces of personal
        information, such as complete credit card numbers and passwords, complete
        bank account numbers, Plaintiff’s children’s health insurance information,
        social security numbers, prescriptions and medications of his entire family,
        and the false allegation that cocaine was found in Plaintiff’s possession.

                43. On June 15, 2018, Defendant Mead sent an email entitled
        “interesting reading” to Defendant Gretsas’ private email address, bearing
        Detective Mead’s FBI signature block, attaching the illegally gathered SARs
        concerning Plaintiff. The email with the attached SARs was also located on
        Defendant Gretsas’ City flash drives. While Plaintiff’s activity reported in
        the SARs was not improper, the mere possession by and sharing of SARs by
        Defendant Mead with Manager Gretsas and the City is likely
        illegal/felonious. Using private emails to circumvent public records law also
        violated Florida law but did not prevent the information from becoming a
        public record, as these records and communications became part of the
        official business of City and were meant to communicate, perpetuate, or
        formalize knowledge.


                                              6
Case 1:21-cv-21537-JAL Document 51 Entered on FLSD Docket 10/04/2021 Page 7 of 45




               44. Defendant Gretsas further prepared a 109-page memorandum
        concerning Plaintiff, alleging that the HPD was conducting three separate
        criminal investigations against Plaintiff. The memorandum contained false
        allegations of drug use by Plaintiff.

               45. Also placed in the Homestead public records was a copy of the
        deposition given by Plaintiff in a personal bankruptcy proceeding.

     • Adverse Action III – Targeted disclosure of illegally gathered
       information concerning Plaintiff to the press and the public.

               46. Defendant Gretsas repeatedly communicated false and misleading
        information about Plaintiff he had gathered with City resources to third
        parties, including without limitation Homestead’s mayor and council, civic
        leaders, local residents, and at least twice to the Miami Herald.

               47. Upon information and belief, the 228-page PowerPoint
        presentation entitled “Miami Herald-Shiver Draft” was sent by Gretsas to the
        Miami Herald. In turn, the Miami Herald published highly negative articles
        on May 22, 2018, and on May 26, 2018, which included information and
        photographs from the 228-page PowerPoint presentation.

               48. A portion of the 109-page memorandum described above in
        paragraph 44, was sent by Gretsas’ assistant, Jason King, to Monique O.
        Madan on or about June 13, 2019. The email from Jason King to Monique
        O. Madan contained the following statement, along with excerpts of the 109-
        page memorandum:

           This report has been written in response to false allegations made by
           Steve Shiver (a.k.a Roy Stephen Shiver, Jr., a/k/a Roy S. Shiver, a.k.a.
           Roy S. Shiver, Jr., a.k.a. Stephen Shiver, a.k.a. Roy Stephen Shiver,
           a.k.a. Shiver Roy S, Jr.) that he has been the target of improper
           policing by the Homestead Police Department (HPD). His claims are
           without merit. Mr. Shiver has been the subject of three separate,
           unrelated and properly conducted criminal investigations by the
           Homestead Police Department over the past two and a half years. Two
           of the unrelated cases are still open and one has been closed. The first
           report will only address the closed case, in which Mr. Shiver was the
           subject of a narcotics investigation. The two other cases are still
           active.

           49. On July 1 and July 3, 2019, just after Plaintiff Shiver had announced
        his run for Homestead Mayor, Defendant Gretsas sent the 109-page
                                              7
Case 1:21-cv-21537-JAL Document 51 Entered on FLSD Docket 10/04/2021 Page 8 of 45




         memorandum to the Mayor and City Council of Homestead via the
         Homestead email system.

             50. On July 3, 2019, Gretsas’ assistant Jason King sent the final version
         of the 109-page memorandum to the Miami Herald’s Monique O. Madan,
         copying Defendant Gretsas with the subject “as per your request.”

            51. Also on July 3, 2019, at 8.57 am, Homestead Citizen Pat Pascuzzo
         emailed the Miami Herald’s Monique O. Madan asking whether she had
         received a copy of the Shiver City of Homestead Police Investigation.
         Monique O. Madan replied back at 8:58 am: “you’re late.”

             52. On the very same day, July 3, 2019, the Miami Herald published
         another negative article based upon the false and/or misleading information
         in Defendant Gretsas’ 109-page memorandum.

             53. Defendant Gretsas also presented the information he and officers of
         the HPD had gathered to civic leaders in Homestead. Some of the
         presentations by Gretsas took place in City offices, where Defendant Gretsas
         disclosed selected materials from Plaintiff’s Dossier to police chief
         Alexander Rolle, then-mayor Jeffrey Porter, City Council members Judy
         Waldman, Jimmie Williams, Jon Burgess and Elvis Maldonado, as on
         information and belief also to other private persons.

     • Adverse Action IV – Contacting Plaintiff’s Employer with negative
       information:

                54. In the June 4, 2018, memorandum by Defendant Gretsas (see ¶31,
         above), Defendant Gretsas articulated 18 specific derogatory points he
         wanted made by to Plaintiff’s employer. After the June 4, 2018,
         memorandum was prepared, Homestead Police Captain Scott Kennedy,
         under order and/or direction of Defendant Gretsas, contacted Steadman
         Stahl, President Case 1:21-cv-21537-JAL Document 32 Entered on FLSD
         Docket 08/09/2021 Page 12 of 22 of the SFPBA, where Plaintiff was
         employed at the time. Upon information and belief, Captain Scott Kennedy
         or other HPD officers gave derogatory information concerning Plaintiff to
         Plaintiff’s employer.

  (Id. ¶¶ 29-54.)




                                              8
Case 1:21-cv-21537-JAL Document 51 Entered on FLSD Docket 10/04/2021 Page 9 of 45




         b.     Procedural background

         On February 4, 2021, five plaintiffs—including Plaintiff, William Rea, Ednamarie

  Hernandez, James E. McDonough, and Vanessa Lynn McDonough—filed a Complaint

  against Defendants (and City of Homestead Police Chief Alexander Rolle) in the United

  States District Court for the Southern District of Florida. Rea, et al. v. City of Homestead,

  et al., Case No. 21-20488-Civ-Moore (the “Original Action”), D.E. 1 (S.D. Fla. Feb. 4,

  2021). On March 31, 2021, Defendants filed Motions to Dismiss and to Sever, arguing

  that the Complaint (1) was a “shotgun pleading,” (2) failed to state a claim upon which

  relief can be granted, and (3) failed to meet the requirements of permissive joinder and, as

  such, the Court should sever Plaintiffs’ claims. Id., D.E. 15, 16. On April 6, 2021, before

  Plaintiffs filed a response to the Motions to Dismiss and Sever, Judge Moore issued a

  Paperless Order providing Plaintiffs an opportunity to cure the purported pleading defects

  and file an amended complaint pursuant to Federal Rule of Civil Procedure 15(a)(1)(B);

  otherwise, they could respond to the Motions to Dismiss and Sever. Id., D.E. 17. The

  same day, Plaintiffs filed a Notice of Intent to Amend Pleadings. Id., D.E. 18.

         On April 21, 2021, Plaintiff Shiver voluntarily severed his claims from those of the

  other Plaintiffs and filed an Amended Complaint against Defendants herein (and Chief

  Rolle) which was opened as the instant action. (“First Amended Complaint,” D.E. 1.)

         On June 21, 2021, Defendants filed Motions to Dismiss the First Amended

  Complaint, arguing that the First Amended Complaint was a “shotgun pleading,” (D.E. 21

  at 3-7; D.E. 22 at 3-6), and failed to state claims upon which relief can be granted, (D.E.

  21 at 7-21; D.E. 22 at 7-17); the City additionally argued that Counts V, VI, and VII of

                                               9
Case 1:21-cv-21537-JAL Document 51 Entered on FLSD Docket 10/04/2021 Page 10 of 45




   the First Amended Complaint should be dismissed because Plaintiff failed to comply with

   the pre-suit notice requirements of Section 768.28(6), Florida Statutes, (D.E. 21 at 17-18).

   On July 26, 2021, the Court issued an Order granting in part both Motions to Dismiss,

   finding that the First Amended Complaint must be dismissed as an improper shotgun

   pleading. (D.E. at 16-17.) The Court stated that it would “provide Plaintiff leave to make

   a final amendment to cure all deficiencies, if they are able to so.” (Id. at 16 (citing Smith

   v. Psychiatric Sols., Inc., 750 F.3d 1253, 1262 (11th Cir. 2014)).) The Court further stated

   that although it was taking “no position on the merits of Defendants’ arguments that the

   Amended Complaint fails to state a claim upon which relief can be granted, to the extent

   that those arguments have merit Plaintiff should endeavor to cure the deficiencies identified

   by Defendants’ Motions (and any other deficiencies).” (Id. at 16-17.)

          On August 9, 2021, Plaintiff filed the Second Amended Complaint which contains

   the following causes of action:

      • Count I: civil rights violation under 42 U.S.C. § 1983 against Defendant Ricky

          Rivera based upon an improper investigation of Plaintiff in retaliation for Plaintiff’s

          Protected Activities I and II, (D.E. 32 ¶¶ 55-64);

      • Count II: civil rights violation under 42 U.S.C. § 1983 against Defendant Tom Mead

          based upon an improper investigation of Plaintiff in retaliation for Plaintiff’s

          Protected Activities I and II, (id. ¶¶ 65-74);

      • Count III: civil rights violation under 42 U.S.C. § 1983 against Defendant George

          Gretsas for illegally gathering information on Plaintiff in retaliation for Plaintiff’s

          Protected Activities I, II, and III, (id. ¶¶ 75-84);
                                                  10
Case 1:21-cv-21537-JAL Document 51 Entered on FLSD Docket 10/04/2021 Page 11 of 45




         • Count IV: civil rights violation under 42 U.S.C. § 1983 against Defendant George

            Gretsas for creating and publishing false or misleading information concerning

            Plaintiff in retaliation for Plaintiff’s Protected Activities I, II, and III, (id. ¶¶ 85-94);

            and

         • Count V: civil rights violation under 42 U.S.C. § 1983 against the City of

            Homestead, (id. ¶¶ 95-111).

   On August 23, 2021, Defendants filed their Motions to Dismiss pursuant to Federal Rule

   of Civil Procedure 12(b)(6). (D.E. 35, 36.) Defendant Gretsas argues that Counts III and

   IV fail to state claims upon which relief can be granted, and in any event, he is entitled to

   qualified immunity. (D.E. 35 at 3-20.) Defendants Rivera and Mead argue that Counts I

   and II, respectively, fail to state claims upon which relief can be granted, and in any event,

   they are entitled to qualified immunity. (D.E. 36 at 2-10.) The City argues that Count V

   fails to state a claim under Section 1983 and Monell v. Department of Social Services of

   City of New York, 436 U.S. 658, 691 (1978). (Id. at 10-17.)

   II.      Legal Standards

            a.     Failure to state a claim

            Under Federal Rule of Civil Procedure 12(b)(6), a court may dismiss a claim for

   “failure to state a claim upon which relief can be granted.” “To survive a motion to dismiss,

   a complaint must contain sufficient factual matter, accepted as true, to ‘state a claim to

   relief that is plausible on its face.’” Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009) (quoting

   Bell Atlantic Corp. v. Twombly, 550 U.S. 544, 570 (2007)). Conclusory statements,

   assertions or labels will not survive a 12(b)(6) motion to dismiss. Id. “A claim has facial
                                                     11
Case 1:21-cv-21537-JAL Document 51 Entered on FLSD Docket 10/04/2021 Page 12 of 45




   plausibility when the plaintiff pleads factual content that allows the court to draw the

   reasonable inference that the defendant is liable for the misconduct alleged.” Id.; see also

   Edwards v. Prime, Inc., 602 F.3d 1276, 1291 (11th Cir. 2010) (setting forth the plausibility

   standard). “Factual allegations must be enough to raise a right to relief above the

   speculative level[.]” Twombly, 550 U.S. at 555 (citation omitted). Additionally:

          Although it must accept well-pled facts as true, the court is not required to
          accept a plaintiff’s legal conclusions. Ashcroft v. Iqbal, 556 U.S. 662, 129
          S. Ct. 1937, 1949, 173 L. Ed. 2d 868 (2009) (noting “the tenet that a court
          must accept as true all of the allegations contained in a complaint is
          inapplicable to legal conclusions”). In evaluating the sufficiency of a
          plaintiff’s pleadings, we make reasonable inferences in Plaintiff’s favor, “but
          we are not required to draw plaintiff’s inference.” Aldana v. Del Monte
          Fresh Produce, N.A., Inc., 416 F.3d 1242, 1248 (11th Cir. 2005). Similarly,
          “unwarranted deductions of fact” in a complaint are not admitted as true for
          the purpose of testing the sufficiency of plaintiff’s allegations. Id.; see also
          Iqbal, 129 S. Ct. at 1951 (stating conclusory allegations are “not entitled to
          be assumed true”).

   Sinaltrainal v. Coca-Cola, 578 F.3d 1252, 1260 (11th Cir. 2009), abrogated on other

   grounds by Mohamad v. Palestinian Auth., 566 U.S. 449, 132 S. Ct. 1702, 1706 n.2 (2012).

   The Eleventh Circuit has endorsed “a ‘two-pronged approach’ in applying these principles:

   1) eliminate any allegations in the complaint that are merely legal conclusions; and 2)

   where there are well-pleaded factual allegations, ‘assume their veracity and then determine

   whether they plausibly give rise to an entitlement to relief.’” Am. Dental Ass’n v. Cigna

   Corp., 605 F.3d 1283, 1290 (11th Cir. 2010) (quoting Iqbal, 556 U.S. at 679).

          b.     Qualified immunity

          “Qualified immunity shelters government officials performing discretionary

   functions from ‘liability for civil damages insofar as their conduct does not violate clearly


                                                12
Case 1:21-cv-21537-JAL Document 51 Entered on FLSD Docket 10/04/2021 Page 13 of 45




   established statutory or constitutional rights of which a reasonable person would have

   known.’” Corey Airport Servs., Inc. v. Decosta, 587 F.3d 1280, 1284-85 (11th Cir. 2009)

   (quoting Harlow v. Fitzgerald, 457 U.S. 800, 818 (1982)). “While the defense of qualified

   immunity is typically addressed at the summary judgment stage of a case, it may be . . .

   raised and considered on a motion to dismiss.” St. George v. Pinellas Cnty, 285 F.3d 1334,

   1337 (11th Cir. 2002). Indeed, the Eleventh Circuit has stated that “[b]ecause qualified

   immunity is ‘an entitlement not to stand trial or face the other burdens of litigation,’

   Mitchell [v. Forsyth, 472 U.S. 511, 525 (1985)], questions of qualified immunity must be

   resolved ‘at the earliest possible stage in litigation.’” Gonzalez v. Reno, 325 F.3d 1228,

   1233 (11th Cir. 2003) (quoting Hunter v. Bryant, 502 U.S. 224, 227 (1991)). “While there

   may be a dispute as to whether the alleged facts are the actual facts, in reviewing the grant

   of a motion to dismiss, [the Court is] required to accept the allegations in the complaint as

   true.” Id.

          To receive qualified immunity, the government official must first prove that he was

   acting within his discretionary authority. Gonzalez, 325 F.3d at 1234 (citing Vinyard v.

   Wilson, 311 F.3d 1340, 1346 (11th Cir. 2002)). “A government official acts within his or

   her discretionary authority if objective circumstances compel the conclusion that

   challenged actions occurred in the performance of the official’s duties and within the scope

   of this authority.” Hill v. Dekalb Reg’l Youth Det. Ctr., 40 F.3d 1176, 1185 n.17 (11th

   Cir. 1994).

          “Once the defendants have established that they were acting within their

   discretionary authority, the burden shifts to the plaintiff to show that qualified immunity is

                                                13
Case 1:21-cv-21537-JAL Document 51 Entered on FLSD Docket 10/04/2021 Page 14 of 45




   not appropriate.” Gonzalez, 325 F.3d at 1234 (citing Vinyard, 311 F.3d at 1346). On a

   motion to dismiss, “[t]o evaluate claims of qualified immunity, the Court considers whether

   (1) the plaintiff has alleged a violation of a constitutional right; and (2) whether the right

   was ‘clearly established’ at the time of the defendant’s misconduct.” Rehberg v. Paulk,

   611 F.3d 828, 838-39 (11th Cir. 2010). A Plaintiff can demonstrate the right was clearly

   established in three ways:

          First, the plaintiffs may show that “a materially similar case has already been
          decided.” Mercado v. City of Orlando, 407 F.3d 1152, 1159 (11th Cir. 2005)
          (citing Harlow v. Fitzgerald, 457 U.S. 800, 818, 102 S. Ct. 2727, 73 L. Ed.
          2d 396 (1982)). Second, the plaintiffs can point to a “broader, clearly
          established principle [that] should control the novel facts [of the] situation.”
          Id. (citing Hope, 536 U.S. at 741, 122 S. Ct. 2508). Finally, the conduct
          involved in the case may “so obviously violate[ ] th[e] constitution that prior
          case law is unnecessary.” Id. (citing Lee, 284 F.3d at 1199). Under
          controlling law, the plaintiffs must carry their burden by looking to the law
          as interpreted at the time by the United States Supreme Court, the Eleventh
          Circuit, or the Florida Supreme Court.

   Terrell v. Smith, 668 F.3d 1244, 1255 (11th Cir. 2012). “These two steps do not have to

   be analyzed sequentially; if the law was not clearly established, [the Court] need not decide

   if the Defendants actually violated the Plaintiff’s rights.” Fils v. City of Aventura, 647

   F.3d 1272, 1287 (11th Cir. 2011) (citing Oliver v. Fiorino, 586 F.3d 898, 905 (11th Cir.

   2009)).

   III.   Discussion

          The Court will address each Count of the Second Amended Complaint in sequence.

   Because Defendants Rivera and Mead assert the same arguments, the Court will address

   Counts I and II together.



                                                14
Case 1:21-cv-21537-JAL Document 51 Entered on FLSD Docket 10/04/2021 Page 15 of 45




          a.      Counts I and II

          In Counts I and II, Plaintiff alleges that Defendants Rivera and Mead, respectively,

   violated his civil rights by conducting a retaliatory investigation without a legitimate law

   enforcement purpose in response to Plaintiff’s exercise of his First Amendment rights, in

   violation of 42 U.S.C. § 1983. (D.E. 32 ¶¶ 55-74.)

          Defendants Rivera and Mead argue that Counts I and II fail to plausibly allege facts

   establishing the elements of a First Amendment retaliation claim, (D.E. 36 at 2-6), and in

   any event, they are entitled to qualified immunity, (id. at 6-10). Because the Court finds

   that Defendants Rivera and Mead are entitled to qualified immunity, the Court will confine

   its analysis to that issue.

          Defendants Rivera and Mead argue that they are entitled to qualified immunity

   because (1) they acted in the course and scope of their discretionary authority at all times

   alleged in the Second Amended Complaint and (2) Plaintiff has not alleged a violation of

   a clearly established Constitutional right. (Id. at 6-10.) They argue that Plaintiff’s claims

   against them are explicitly based upon a purported retaliatory investigation, and the

   Eleventh Circuit “has explicitly held that the ‘right to be free from a retaliatory

   investigation is not clearly established.’” (Id. at 8 (quoting Rehberg v. Paulk, 611 F.3d

   828, 850-51 (11th Cir. 2010), aff’d, 566 U.S. 356 (2012)).)

          Plaintiff concedes that the Second Amended Complaint alleges that Defendants

   Rivera and Mead acted within their discretionary authority, but argues that they are not

   entitled to qualified immunity because their conduct violated clearly established law of

   which a reasonable person would have known. (D.E. 40 at 10.) Specifically, he argues

                                                15
Case 1:21-cv-21537-JAL Document 51 Entered on FLSD Docket 10/04/2021 Page 16 of 45




   that he has adequately alleged a violation of his First Amendment rights against retaliation,

   and in the Eleventh Circuit “it is ‘settled law’ ‘since at least 1988’ that the government may

   not retaliate against citizens for the exercise of First Amendment rights.” (Id. (quoting

   Bennett v. Hendrix, 423 F.3d 1247, 1256 (11th Cir. 2005), and relying on Bailey v.

   Wheeler, 843 F.3d 473, 486 (11th Cir. 2016)).)

          In Reply, Defendants Rivera and Mead maintain that they are entitled to qualified

   immunity because binding precedent holds that retaliatory investigation is not a recognized

   constitutional tort. (D.E. 43 at 6-7 (citing Rehberg, 611 F.3d at 850-51).)

          In a sense, both Parties are correct. In Bennett, the Eleventh Circuit recognized a

   broad, clearly established principle that “the government may not retaliate against citizens

   for the exercise of First Amendment rights[.]” 423 F.3d at 1256. See also Bailey, 843 F.3d

   at 484-85. On the other hand, in Rehberg, the Eleventh Circuit held that the specific “right

   to be free from a retaliatory investigation is not clearly established.” 611 F.3d at 851.

          The Court finds that the more specific holding from Rehberg controls here because

   Counts I and II of the Second Amended Complaint explicitly allege claims for retaliatory

   investigation. (D.E. 32 ¶¶ 55-74.) Both Bennett and Bailey are distinguishable on the facts

   because they involved retaliatory harassment and intimidation but not a retaliatory

   investigation.   See Thompson v. Hall, 426 F. App’x 855, 859-60 (11th Cir. 2011)

   (observing that Rehberg involved a retaliatory investigation while Bennett involved

   retaliatory harassment and intimidation, and finding that the plaintiffs’ claim for retaliatory

   investigation failed in light of Rehberg).



                                                 16
Case 1:21-cv-21537-JAL Document 51 Entered on FLSD Docket 10/04/2021 Page 17 of 45




          In Bennett, the plaintiffs supported a referendum to transfer power from the Forsyth

   County Sheriff’s Department to a county-wide police force. 423 F.3d at 1249. The

   referendum failed, but the Sheriff’s office thereafter allegedly “engaged in a campaign of

   retaliation and intimidation against the plaintiffs because of their support of the

   referendum.” Id.

          Among many other acts of intimidation, they allege the defendants took
          down license tag numbers of cars at a forum in support of the referendum,
          surveilled the plaintiffs’ homes and businesses, set up roadblocks near their
          homes, stopped their cars without reason and issued false traffic citations,
          accessed government databases to obtain confidential information on the
          plaintiffs, attempted to obtain a warrant for their arrest on trumped-up
          environmental charges, and mailed flyers to 35,000 homes in Forsyth County
          calling the plaintiffs the “real criminals,” members of a “chain gang,” and
          “the same type of criminals that terrorize Forsyth County.”

   Id. The plaintiffs sued under Section 1983 alleging, inter alia, First Amendment retaliation.

   Id. At the summary judgment stage, the district court found that the defendants were not

   entitled to qualified immunity because “they had violated the plaintiffs’ constitutional

   rights, and those rights were clearly established at the time.” Id. The defendants prosecuted

   an interlocutory appeal, and the Eleventh Circuit affirmed. Id. at 1256. Initially, the court

   found that the plaintiffs had adequately pled a claim for First Amendment retaliation

   because the defendants’ alleged retaliatory acts—which the Eleventh Circuit typified as

   “harassment”—“would likely deter a person of ordinary firmness from the exercise of First

   Amendment rights.” Id. at 1254-55. It then found that that “the law was clearly established

   at the time of the defendants’ alleged actions that retaliation against private citizens for

   exercising their First Amendment rights was actionable.” Id. at 1255.



                                                17
Case 1:21-cv-21537-JAL Document 51 Entered on FLSD Docket 10/04/2021 Page 18 of 45




          In Bailey, the plaintiff, a former City of Douglasville police officer, filed written

   complaints with his Chief alleging that other officers of the Douglasville Police

   Department and Douglas County Sheriff’s Office were racially profiling minority citizens

   and committing other constitutional violations. 843 F.3d at 478. Later, the plaintiff’s

   supervisors ordered him to rewrite incident reports he had previously filed. Id. at 478-79.

   When he told his supervisors that rewriting incident reports violated Police Department

   policy he was reprimanded and ultimately terminated from his position. Id. The plaintiff

   appealed his termination to the City. Id. On the night the City held a hearing on the appeal,

   “two deputies in a Sheriff’s Office vehicle followed Bailey as he drove his personal car

   from Douglasville into the City of Atlanta. When Bailey entered his intended destination,

   the two deputies followed him in and stared him down.” Id. The next day, an officer from

   the Sheriff’s Office, Wheeler, issued a BOLO (Be on the Lookout bulletin) on the plaintiff,

   displaying the plaintiff’s photograph, calling him a “loose cannon,” and warning law-

   enforcement officers to “[c]onsider this man a danger to any [law-enforcement officer] in

   Douglas County and act accordingly.” Id. “And for the second day in a row, law

   enforcement—this time vehicles from both the Sheriff's Office and the Police

   Department—followed Bailey as he drove his personal car.” Id. The plaintiff later sued

   Wheeler (among others) alleging a First Amendment retaliation claim under Section 1983.

   Id. Wheeler moved to dismiss on qualified immunity grounds, but the district court denied

   the motion. Id. Wheeler prosecuted an interlocutory appeal and the Eleventh Circuit

   affirmed. Id. at 486. Relevant here, the Eleventh found that “Wheeler’s BOLO ‘would

   likely deter a person of ordinary firmness from the exercise of First Amendment rights.’”

                                                18
Case 1:21-cv-21537-JAL Document 51 Entered on FLSD Docket 10/04/2021 Page 19 of 45




   Id. at 481. It noted, for example, that the BOLO described the plaintiff “as a ‘loose cannon’

   who was a ‘danger to any [law-enforcement officer] in Douglas County’” and “empowered

   these now-anxious officers to ‘act accordingly’ upon coming into contact with [the

   plaintiff].” Id. at 481-82. The Eleventh Circuit found that “this situation, which potentially

   seriously endangered [the plaintiff’s] life, easily would deter a person of ordinary firmness

   from exercising his First Amendment rights.” Id. at 482. The Eleventh Circuit then found

   that, pursuant to Bennett, the law was clearly established that “a law-enforcement officer

   certainly may not use his position to potentially seriously endanger a person’s life in

   retaliation for exercising First Amendment rights.” Id. at 485. The Eleventh Circuit further

   stated that

          even if it were not, it is certainly obvious, as a general proposition and
          without reference to case law, that issuing the BOLO Wheeler issued in this
          case, under the circumstances that existed at the time, allegedly in retaliation
          for Bailey’s speaking up about alleged civil-rights abuses, clearly violated
          Bailey’s First Amendment rights. Law-enforcement officers are sworn to
          protect and defend the lives of others. It is completely antithetical to those
          sworn duties for a law-enforcement officer to use his position to harness the
          power of an entire county’s law-enforcement force to teach a lesson to—and
          potentially very seriously endanger—someone who had the temerity to speak
          up about alleged abuses.

   Id.

          Here, the Second Amended Complaint does not allege that Defendants Rivera and

   Mead conducted “a campaign of retaliation and intimidation” against Plaintiff, Bennett,

   423 F.3d at 1249, or retaliation that potentially seriously endangered Plaintiff’s life, Bailey,

   843 F.3d at 485. Indeed, the Second Amended Complaint does not allege that Plaintiff

   even knew about the investigation while it was allegedly happening. (See Second Am.


                                                 19
Case 1:21-cv-21537-JAL Document 51 Entered on FLSD Docket 10/04/2021 Page 20 of 45




   Compl. ¶ 30 (alleging that Plaintiff “found evidence” of the investigation in 2020); see also

   generally id. ¶¶ 29-54).) To the contrary, the Second Amended Complaint alleges that

   Defendants Rivera and Mead conducted a “clandestine investigation without a legitimate

   law enforcement purpose, keeping it off the books, but providing the results of this

   investigation which included false and/or misleading statements and/or arrangements of

   documents to [their] supervisor Gretsas.” (D.E. 32 ¶¶ 60, 70 (emphasis added).) However,

   this is the type of conduct that the Eleventh Circuit held in Rehberg was not a violation of

   clearly established law. 611 F.3d at 850-51.

          In Rehberg, the plaintiff allegedly sent anonymous faxes to the management of a

   hospital which criticized the management and activities of the hospital. Id. at 835. As a

   “favor” to the hospital, the District Attorney of Dougherty County, Georgia and the Chief

   Investigator in the District Attorney’s Office initiated a criminal investigation of the

   plaintiff without probable cause to do so. Id. The defendants subpoenaed the plaintiff’s

   telephone service provider and obtained his telephone records, and subpoenaed his internet

   service provider and obtained his personal emails. Id. The defendants ultimately secured

   three indictments against the plaintiff. Id. at 835-36. The plaintiff sued the District

   Attorney and the Investigator (among others) under Section 1983 for, inter alia, retaliatory

   investigation “for their alleged retaliation against [the plaintiff] because he exercised First

   Amendment free speech rights[.]” Id. at 837. The complaint alleged that the defendants

   engaged in retaliatory investigation in order to chill the plaintiff’s political speech. Id. at

   850. The district court denied the defendants’ motion to dismiss on qualified immunity

   grounds, and the defendants appealed. Id. The Eleventh Circuit held that even assuming

                                                 20
Case 1:21-cv-21537-JAL Document 51 Entered on FLSD Docket 10/04/2021 Page 21 of 45




   the plaintiff had “stated a constitutional violation by alleging that [the defendants] initiated

   an investigation and issued subpoenas in retaliation for Rehberg’s exercise of First

   Amendment rights, [the defendants] still receive qualified immunity because [the

   plaintiff’s] right to be free from a retaliatory investigation is not clearly established.” Id.

   at 850-51. The Eleventh Circuit observed that “[t]he Supreme Court has never defined

   retaliatory investigation, standing alone, as a constitutional tort, and neither has this Court.

   Without this sort of precedent, [a plaintiff] cannot show that the retaliatory investigation

   alleged here violated his First Amendment rights.”                Id. (internal citation omitted).

   Furthermore, “retaliatory animus does not create a distinct constitutional tort.2” Id. at 850

   (footnote in original).

          Pursuant to Rehberg, the Court finds that even assuming arguendo that Defendants

   Rivera and Mead’s alleged retaliatory investigation violated Plaintiff’s First Amendment

   rights, Rivera and Mead still receive qualified immunity because Plaintiff’s right to be free

   from a retaliatory investigation is not clearly established. Rehberg, 611 F.3d at 850-51.

   See also Thompson, 426 F. App’x at 859 (same). Accordingly, Defendants Rivera and

   Mead are entitled to qualified immunity as to Counts I and II, respectively. Id. Those

   Counts are dismissed with prejudice. Helm v. Liem, 523 F. App’x 643, 646 (11th Cir.




          2
                  The initiation of a criminal investigation in and of itself does not implicate a federal
   constitutional right. The Constitution does not require evidence of wrongdoing or reasonable
   suspicion of wrongdoing by a suspect before the government can begin investigating that suspect.
   See United States v. Aibejeris, 28 F.3d 97, 99 (11th Cir. 1994). No § 1983 liability can attach
   merely because the government initiated a criminal investigation.
                                                     21
Case 1:21-cv-21537-JAL Document 51 Entered on FLSD Docket 10/04/2021 Page 22 of 45




   2013) (finding that the district court “properly dismissed [the plaintiff’s] complaint with

   prejudice based on qualified immunity”).

          b.     Count III

          In Count III, Plaintiff alleges that Defendant Gretsas violated his civil rights by

   “illegally gathering information on Plaintiff in retaliation for” exercising his First

   Amendment rights, in violation of 42 U.S.C. § 1983. (Second Am. Compl. at 16.)

   Specifically, he alleges that “Defendant Gretsas retaliated against Plaintiff by ordering his

   subordinates to perform a retaliatory and clandestine investigation without a legitimate law

   enforcement purpose, keeping it off the books, but providing the results of this

   investigation which included false and/or misleading statements and/or arrangements of

   documents to him.” (Id. ¶ 80.)

          Gretsas argues that, for several reasons, Count III fails to state a First Amendment

   retaliation claim, (D.E. 35 at 5-11), and in any event, he is entitled to qualified immunity,

   (id. at 18-19). Because the Court finds that Gretsas is entitled to qualified immunity as to

   Count III, the Court will confine its analysis to that issue.

          Gretsas argues that he is entitled to qualified immunity as to Count III because the

   Eleventh Circuit has specifically held that “‘[t]he initiation of a criminal investigation in

   and of itself does not implicate a federal constitutional right.’” (Id. at 18 (quoting Rehberg,

   611 F.3d at 850-51 & n.24, and citing Thompson, 426 F. App’x at 859; Joyner, 2018 WL

   1442931, at *9).)

          In his Response, Plaintiff argues that Gretsas is not entitled to qualified immunity

   as to Count III because in the Eleventh Circuit “it is ‘settled law’ ‘since at least 1988’ that

                                                 22
Case 1:21-cv-21537-JAL Document 51 Entered on FLSD Docket 10/04/2021 Page 23 of 45




   the government may not retaliate against citizens for the exercise of First Amendment

   rights.” (Id. (quoting Bennett, 423 F.3d at 1256).) He argues that “[t]he proper standard

   for this case is supplied by Bennett v. Hendrix, 423 F.3d 1247 (11th Cir. 2005) and Bailey

   v. Wheeler, 843 F.3d 473 (11th Cir. 2016), which make clear that a larger constitutional

   principle is at stake in First Amendment retaliation such as the instant case, and that

   government officials are on notice that they cannot retaliate against regular citizens for

   speaking out.” (Id. at 19.) Plaintiff further argues that the Court should not grant Gretsas

   qualified immunity because the affirmative defense is not unambiguously evident from the

   pleadings. (Id. at 20.)

          In his Reply, Gretsas maintains that a retaliatory investigation does not implicate a

   federal constitutional right; even if it did, the allege retaliatory and clandestine

   investigation would not deter a person of ordinary firmness from the exercise of their First

   Amendment rights; and the Second Amended Complaint fails to plausibly allege a causal

   link between his speech and Gretsas’s allegedly retaliatory investigation. (D.E. 42 at 3-6.)

          Plaintiff does not contest that Gretsas was acting within his discretionary authority

   at all relevant times. (D.E. 41 at 17.) Thus, the burden shifts to Plaintiff to show that (1)

   Gretsas violated a constitutional right (2) that was clearly established at the time of the

   misconduct. Rehberg, 611 F.3d at 838-39.

          For the reasons discussed in Section III(a), supra, the Court finds that even assuming

   arguendo that Gretsas’s alleged retaliatory investigation violated Plaintiff’s First

   Amendment rights, Gretsas still receives qualified immunity because Plaintiff’s right to be

   free from a retaliatory investigation is not clearly established. Rehberg, 611 F.3d at 850-

                                                23
Case 1:21-cv-21537-JAL Document 51 Entered on FLSD Docket 10/04/2021 Page 24 of 45




   51. See also Thompson, 426 F. App’x at 859 (same). Accordingly, Defendant Gretsas is

   entitled to qualified immunity as to Count III. Id. That Count is dismissed with prejudice.

   Helm, 523 F. App’x at 646 (finding that the district court “properly dismissed [the

   plaintiff’s] complaint with prejudice based on qualified immunity”).

          c.     Count IV

          In Count IV, Plaintiff alleges that Defendant Gretsas violated his civil rights by

   “creating and publishing false or misleading information concerning Plaintiff in retaliation

   for” exercising his First Amendment rights, in violation of 42 U.S.C. § 1983. (Second Am.

   Compl. at 18.) Specifically, he alleges that

          Defendant Gretsas retaliated against Plaintiff by preparing false and/or
          misleading information concerning Plaintiff in the Dossier, and by
          communicating the false and misleading materials to employees, elected
          officials, and residents to harm and defame Plaintiff. Defendant Gretsas this
          time provided all or parts of the Dossier to the Miami Herald who published
          the false and misleading information provided by Defendant Gretsas publicly
          damaging Plaintiff’s reputation.

   (Id. ¶ 90.)

          Gretsas argues that, for several reasons, Count IV fails to state a First Amendment

   retaliation claim, (D.E. 35 at 5-11), and in any event, he is entitled to qualified immunity,

   (id. at 18-19). Because the Court finds that Gretsas is entitled to qualified immunity as to

   Count IV, the Court will confine its analysis to that issue.

          Plaintiff does not contest that Gretsas was acting within his discretionary authority

   at all relevant times. (D.E. 41 at 17.) Thus, the burden shifts to Plaintiff to show that (1)

   Gretsas violated a constitutional right (2) that was clearly established at the time of the

   misconduct. Rehberg, 611 F.3d at 838-39.

                                                  24
Case 1:21-cv-21537-JAL Document 51 Entered on FLSD Docket 10/04/2021 Page 25 of 45




                 1.      Constitutional violation

          Gretsas initially argues that Count IV is facially implausible because “the timeline

   of events . . . does not add up.” (D.E. 35 at 10.)

          By way of example, Shiver claims that on May 15, 2019, Gretsas “created a
          228-page PowerPoint presentation, entitled ‘Miami Herald-Shiver Draft,’
          with negative information about Plaintiff”; then, adding confusion, Shiver
          states “the Miami Herald published highly negative articles on May 22, 2018,
          and on May 26, 2018, which included information and photographs from the
          228-page PowerPoint presentation.” Id. ¶¶ 38, 47. Shiver leaves the reader
          (and this Court) to guess the timeline of events and expects the reader (and
          this Court) to piece together conflicting allegations from the second amended
          complaint.

   (Id.) Gretsas further argues that “[b]ecause [Plaintiff] says Gretsas retaliated through his

   own speech to the public, the second amended complaint must state a claim for defamation

   under Florida law in order to succeed[,]” (id. at 10 (citing Echols v. Lawton, 913 F.3d 1313,

   1320 (11th Cir. 2019))), and Count IV fails to state a claim for defamation under Florida

   law because it pleads no facts that Gretsas published a false or defamatory statement, (id.

   at 12-13). Gretsas notes that the Second Amended Complaint includes allegations that

   Plaintiff was a co-conspirator in a “non-existent money laundering scheme” and “that

   cocaine was found in Plaintiff’s possession, but argues that “Shiver does not allege any

   specific facts demonstrating Gretsas uttered a false statement; nor does Shiver identify any

   false statement that Gretsas published about him related to this chart.” (Id. (quoting Second

   Am. Compl. ¶¶ 41-42, 44).) Gretsas further argues that the Second Amended Complaint

   fails to plausibly allege that the falsity of a statement caused Plaintiff injury: “Shiver offers

   no information or facts about how his reputation was harmed. His bald assertion that the

   Miami Herald’s publication caused him reputational harm is far too conclusory to support

                                                  25
Case 1:21-cv-21537-JAL Document 51 Entered on FLSD Docket 10/04/2021 Page 26 of 45




   a defamation claim.” (Id. at 13.) Gretsas further alleges that the Second Amended

   Complaint fails to plausibly allege “actual malice.” (Id. at 14-15.) Gretsas further argues

   that even assuming arguendo that the Second Amended Complaint plausibly alleges a

   defamation claim, Plaintiff failed to allege that Gretsas’s allegedly defamatory statements

   would chill a person of ordinary firmness in the exercise of his First Amendment rights.

   (Id. at 15.) Gretsas further argues that the Second Amended Complaint fails to allege a

   causal connection between the speech and the alleged adverse actions given the disjointed

   timeline of events alleged (i.e., the adverse actions allegedly occurred before the protected

   speech), the lack of factual allegations, and the lack of a close temporal connection between

   the protected speech and alleged adverse actions. (Id. at 16-18.)

          In his Response, Plaintiff argues that Count IV is not intended to state a claim for

   defamation under Florida law, but instead alleges a First Amendment retaliation claim “in

   the form of publication, directly or through other means, of information concerning

   Plaintiff to third parties.” (D.E. 41 at 10.) He argues that this is a viable First Amendment

   claim because it would chill a person of ordinary firmness from exercising his First

   Amendment rights. (Id. (citing Bennett, 423 F.3d at 1252).) He argues that Echols “does

   not establish a special rule for defamatory retaliation”; he argues that “[w]hat matters is

   not whether the actionable conduct has all the hallmarks of defamation, but whether it

   would have a chilling effect on a person of ordinary firmness.” (Id. at 12.) Plaintiff further

   argues that the Second Amended Complaint properly alleges publication by Defendant

   Gretsas. (Id. at 12-14.) Plaintiff further argues that he is not required to plead that the

   retaliatory conduct actually chilled Plaintiff, only that it would have chilled a person of

                                                26
Case 1:21-cv-21537-JAL Document 51 Entered on FLSD Docket 10/04/2021 Page 27 of 45




   ordinary firmness. (Id. at 14.) Plaintiff further argues that the Second Amended Complaint

   alleges a causal connection between his protected activities and the retaliatory conduct.

   (Id. (citing Second Am. Compl. ¶¶ 91-92, 94).) He further argues that in any event,

   causation may be inferred from circumstantial evidence gleaned from the record as a

   whole. (Id. at 14-15 (citing Freeman v. Perdue Farms Inc., 496 F. App’x 920, 926 (11th

   Cir. 2012); Bailey v. Com. Nat’l Ins. Servs., Inc., 267 F. App’x 167, 170 (3d Cir. 2008)).)

          In his Reply, Gretsas argues that Plaintiff’s assertion that Count IV is not intended

   to state a claim for defamation is fatal to the claim. (D.E. 42 at 6-7.) Specifically, he argues

   that Count IV is a reframed defamation claim; pursuant to Echols, a First Amendment

   retaliation claim based on defamation must allege that (1) the speech qualifies as

   defamation, and (2) whether the First Amendment protects that speech; and Plaintiff fails

   to meet the first element because he affirmatively argues that he is not asserting a

   defamation claim. (Id.) Gretsas further maintains that the Second Amended Complaint

   fails to give Gretsas fair notice of the substance of the defamatory statements, as he “fails

   to identify any specific offending and defamatory statements published by Gretsas.” (Id.

   at 7.) He further maintains that the Second Amended Complaint fails to plausibly allege a

   chilling effect on the exercise of free speech. (Id. at 7-8.) Finally, Gretsas maintains that

   the Second Amended Complaint fails to plausibly allege a causal connection between the

   speech and the adverse actions. (Id. at 8-9.)

          The First Amendment “protects ‘not only the affirmative right to speak, but also the

   right to be free from retaliation by a public official for the exercise of that right.’” Echols,

   913 F.3d at 1320 (quoting Suarez Corp. Indus. v. McGraw, 202 F.3d 676, 685 (4th Cir.

                                                 27
Case 1:21-cv-21537-JAL Document 51 Entered on FLSD Docket 10/04/2021 Page 28 of 45




   2000)). “To state a claim for First Amendment retaliation, a plaintiff must allege that he

   engaged in protected speech, that the official’s conduct adversely affected the protected

   speech, and that a causal connection exists between the speech and the official’s retaliatory

   conduct.”3 Id. (citing Bailey, 843 F.3d at 480-81). Only the second and third elements are

   at issue. Because the Court finds that the Second Amended Complaint fails to meet the

   “adverse affect” element, the Court confines its analysis to that issue.

          “[A] defendant adversely affects protected speech if his alleged retaliatory conduct

   ‘would likely deter a person of ordinary firmness from the exercise of First Amendment

   rights.’” Bailey, 843 F.3d at 481 (quoting Bennett, 423 F.3d at 1254). However, “special

   concerns” arise where, as here, the alleged retaliation consists of speech made by a public

   official—in this case, Gretsas’s communications to employees, elected officials, residents,

   and the Miami Herald. Id. (citing Dixon v. Burke Cnty., 303 F.3d 1271, 1275 (11th Cir.

   2002) (citing Suarez Corp., 202 F.3d at 687))). Thus, at least eight federal circuit courts of

   appeal require a plaintiff to show that a public official’s allegedly retaliatory speech

   amounted to “a threat, coercion, or intimidation intimating that punishment, sanctions, or

   adverse regulatory action will imminently follow[.]’” Echols, 913 F.3d at 1320 (citing

   Suarez Corp., 202 F.3d at 687 (collecting cases); Mirabella v. Villard, 853 F.3d 641, 651

   (3d Cir. 2017); Mulligan v. Nichols, 835 F.3d 983, 990 (9th Cir. 2016); Goldstein v. Galvin,

   719 F.3d 16, 30 (1st Cir. 2013); Hutchins v. Clarke, 661 F.3d 947, 956 (7th Cir. 2011); X-


          3
                 The Court rejects Gretsas’s argument that Plaintiff is required to state a claim for
   defamation under Florida state law to succeed. (See D.E. 35 at 10.) A plaintiff may state a viable
   First Amendment retaliation claim that does not constitute a state law tort for defamation. See
   Echols, 913 F.3d at 1320.
                                                  28
Case 1:21-cv-21537-JAL Document 51 Entered on FLSD Docket 10/04/2021 Page 29 of 45




   Men Sec., Inc. v. Pataki, 196 F.3d 56, 70 (2d Cir. 1999); Colson v. Grohman, 174 F.3d

   498, 512 (5th Cir. 1999); Penthouse Int’l, Ltd. v. Meese, 939 F.2d 1011, 1015 (D.C. Cir.

   1991)). As the Eleventh Circuit recognized, these circuits “have required that an official’s

   retaliatory speech amount to a threat, coercion, or intimidation to reconcile two competing

   rights: a plaintiff’s right to be free from retaliation for exercising his First Amendment

   rights and an official’s right to engage in protected speech.” Id. (citing Suarez Corp., 202

   F.3d at 687 n.13).

          The district court in Echols applied this standard in determining that the state

   attorney, Lawton, was not liable for First Amendment retaliation. Id. On appeal, the

   Eleventh Circuit did not resolve whether this standard applies in this circuit because it

   agreed with the plaintiff, Echols, that Lawton’s conduct constituted defamation under

   Georgia law, and defamation falls “outside the protection of the First Amendment.” Id.

   (citing United States v. Alvarez, 567 U.S. 7409, 717 (2012)). It found that “[t]he First

   Amendment affords no protection to Lawton’s alleged libel of Echols, so no ‘balance must

   be struck’ here between the First Amendment rights of a plaintiff alleging retaliation for

   his speech and an official who allegedly retaliated through his own speech.” Id. at 1322

   (quoting Suarez Corp., 202 F.3d at 687 n.13). “We must instead determine only whether

   Lawton’s alleged libel violated Echols’s rights under the First Amendment.” Id. The

   Eleventh Circuit then found that defamation is actionable as retaliation under the First

   Amendment, that the “ordinary firmness” test applies, and that “Lawton’s alleged libel per

   se would have deterred a person of ordinary firmness from exercising his rights under the

   First Amendment.” Id. at 1323.

                                               29
Case 1:21-cv-21537-JAL Document 51 Entered on FLSD Docket 10/04/2021 Page 30 of 45




          Here, Plaintiff explicitly argues that he is not attempting to state a claim for

   defamation. (D.E. 41 at 10.) Thus, the Court must decide whether Plaintiff must show that

   Gretsas’s allegedly retaliatory speech amounted to “a threat, coercion, or intimidation

   intimating that punishment, sanctions, or adverse regulatory action will imminently

   follow[.]” Echols, 913 F.3d at 1320. Given the overwhelming authority holding that this

   standard applies when a plaintiff is suing a public official for speaking, the Court finds that

   this standard applies to Count IV. Suarez Corp., 202 F.3d at 687 (“[W]here a public

   official’s alleged retaliation is in the nature of speech, in the absence of a threat, coercion,

   or intimidation intimating that punishment, sanction, or adverse regulatory action will

   imminently follow, such speech does not adversely affect a citizen’s First Amendment

   rights, even if defamatory.”); Mirabella, 853 F.3d at 651 (same); Mulligan, 835 F.3d at 990

   (same); Goldstein, 719 F.3d at 30 (same); Hutchins, 661 F.3d at 956 (same); X-Men, 196

   F.3d at 70;4 Colson, 174 F.3d at 512 (holding that city councilmembers making false

   accusations to the public about the plaintiff are not actionable under Section 1983);

   Penthouse Int’l, 939 F.2d at 1015 (finding that a letter from an advisory commission that

   allegedly attempted to chill constitutionally protected speech was not actionable because it

   contained “no threat to prosecute, nor intimation of intent to proscribe the distribution of




          4
                   In X-Men, the Second Circuit noted that in certain contexts, speech by a public
   official need not rise to the level of threat, intimidation, or coercion to be actionable under Section
   1983 where the speech is uttered by a “decisionmaker.” 196 F.3d at 70 (citing Vickery v. Jones,
   100 F.3d 1334, 1345 (7th Cir. 1996); id. at 71 (citing United States v. Yonkers Bd. of Ed., 837
   F.2d 1181, 1223-26 (2d Cir. 1987)). However, neither Vikery nor Yonkers involved a First
   Amendment retaliation claim and are not otherwise relevant to this case.
                                                     30
Case 1:21-cv-21537-JAL Document 51 Entered on FLSD Docket 10/04/2021 Page 31 of 45




   the publications”); Echols v. Lawton, CASE NO. CV408-023, 2017 WL 3206629, at *7

   (S.D. Ga. July 28, 2017).

          The Court further finds that the Second Amended Complaint fails to allege that

   Gretsas’s speech amounted to a threat, coercion, or intimidation intimating that

   punishment, sanctions, or adverse regulatory action will imminently follow. (See Second

   Am. Compl. ¶¶ 38-54, 85-94.) The most serious allegation contained in Count IV is that

   Gretsas “provided all or parts of the Dossier to the Miami Herald who published the false

   and misleading information provided by Defendant Gretsas publicly damaging Plaintiff’s

   reputation.” (Second Am. Compl. ¶ 90.) That allegation simply does not meet the standard

   for stating a First Amendment retaliation claim against a public official. See Suarez Corp.,

   202 F.3d at 687; Mirabella, 853 F.3d at 651; Mulligan, 835 F.3d at 990; Goldstein, 719

   F.3d at 30; Hutchins, 661 F.3d at 956; X-Men, 196 F.3d at 70; Colson, 174 F.3d at 512;

   Penthouse Int’l, 939 F.2d at 1015; Echols, 2017 WL 3206629, at *7 (S.D. Ga. July 28,

   2017). Therefore, the Court finds that Count IV fails to allege that Gretsas violated

   Plaintiff’s First Amendment rights.

          However, even if Plaintiff had adequately alleged that Gretsas violated Plaintiff’s

   First Amendment rights, the Court finds that Gretsas is entitled to qualified immunity

   because the right was not clearly established.

                 2.     Clearly established Constitutional right

          Gretsas argues that he is entitled to qualified immunity as to Count IV because the

   right to be free from a government official’s First Amendment retaliation was not a clearly

   established right prior to the Eleventh Circuit’s January 25, 2019 decision in Echols; and

                                               31
Case 1:21-cv-21537-JAL Document 51 Entered on FLSD Docket 10/04/2021 Page 32 of 45




   with respect to any alleged conduct by Gretsas that occurred post-Echols, the Echols

   decision is not sufficiently analogous to provide a “fair and clear warning that Gretsas’s

   conduct may constitute a violation of the First Amendment.” (Id. at 19-21.)

          In his Response, Plaintiff argues that Gretsas is not entitled to qualified immunity

   as to Count IV. (D.E. 41 at 17-19.) As with Count III, he argues that the proper standard

   is the one discussed in Bennett and Bailey, which recognize a broader, clearly established

   principle that government officials cannot retaliate against citizens for exercising their First

   Amendment rights. (D.E. 41 at 19.) He argues that Echols

          does not establish a different standard for the circumstances of the instant
          case. The Echols court stressed that it had to look at the specific context of
          the case, and that given the facts of that case, the prosecutor was not on notice
          that his allegedly defamatory testimony to the Georgia legislature constituted
          a violation the First Amendment.

   (Id.) Plaintiff further argues that the Court should not grant Gretsas qualified immunity

   because the affirmative defense is not unambiguously evident from the pleadings. (Id. at

   20.)

          In his Reply, Gretsas maintains that he is entitled to qualified immunity because his

   conduct did not violate a clearly established constitutional right. (D.E. 42 at 9-10 (citing

   Rehberg, 611 F.3d at 851; Echols, 913 F.3d at 1324-26).)

          The Court finds that even assuming arguendo that Plaintiff has stated a First

   Amendment retaliation claim against Gretsas, that right was not clearly established at the

   time of the alleged conduct. Echols, 913 F.3d at 1324-25.

          In Echols, the plaintiff-appellant (“Echols”) was convicted of kidnapping and rape

   and sentenced to fifteen years’ imprisonment. 913 F.3d at 1318. After serving seven years

                                                 32
Case 1:21-cv-21537-JAL Document 51 Entered on FLSD Docket 10/04/2021 Page 33 of 45




   of his sentence, DNA tests revealed that semen recovered from the victim did not match

   Echols’s DNA. Id. Thus, the trial court vacated Echols’s sentence and granted him a new

   trial; however, the same state attorney who prosecuted the case seven years prior

   (“Lawton”) instead entered a nolle prosequi and dismissed the indictment against Echols.

   Id. Four years later, the Georgia Claims Advisory Board recommended compensating

   Echols, and a Georgia state legislator introduced a bill to compensate him with $1.6 million

   for his wrongful convictions. Id. However, before the legislators voted on the bill, Lawton

   sent a letter and memorandum to several legislators opposing the compensation. Id.

          Lawton told the legislators that Echols’s convictions “were proper and
          fitting, even though [his] conviction[s] had been vacated.” Lawton also told
          the legislators not to presume Echols innocent of kidnapping and rape
          because the vacatur of his convictions did not establish his innocence.
          Lawton urged the legislators not to compensate Echols unless he proved his
          innocence. And Lawton told the legislators that Echols remained under
          indictment for kidnapping and rape even though the indictment had been
          dismissed four years earlier when the state entered a nolle prosequi on the
          charges.

   Id. Echols later filed a complaint against Lawton alleging, inter alia, First Amendment

   retaliation. Id. The district court found that Echols failed to state a claim for First

   Amendment retaliation, and that Lawton enjoyed qualified immunity because Echols’s

   complaint failed to allege the violation of a right that was clearly established when Lawton

   sent his letter. Id.

          On appeal, the Eleventh Circuit initially disagreed with the district court, finding

   that Echols stated a claim for defamation under Georgia law, and that the First Amendment

   did not protect Lawton’s defamatory speech. Id. at 1320-23. The Eleventh Circuit noted

   that “[a]fter a plaintiff engages in protected speech, an official may retaliate with physical

                                                33
Case 1:21-cv-21537-JAL Document 51 Entered on FLSD Docket 10/04/2021 Page 34 of 45




   or economic harm, but he may also retaliate with injurious speech.” Id. at 1322. It stated

   that when deciding whether defamation in a particular case is retaliatory, courts should

   “apply the same test of ordinary firmness as they would for any other claim of retaliation.”

   Id. at 1322-23. It then found that Lawton’s speech would have deterred a person of

   ordinary firmness from exercising his rights under the First Amendment. Id. at 1323. Thus,

   the Eleventh Circuit held that Echols had stated a First Amendment retaliation claim. Id.

          However, the Eleventh Circuit further found that Lawton did not violate a First

   Amendment right that was clearly established. Id. at 1323-25. It found that there was no

   controlling precedent clearly establishing Lawton’s conduct as a constitutional violation,

   and that Lawton’s conduct did not so obviously violate the Constitution that prior case law

   was unnecessary. Id. at 1324-25. Additionally—and directly relevant to Plaintiff’s

   argument here—it rejected Echols’s argument that the broader, clearly established

   principle that retaliating against a citizen for exercising his constitutional rights applied to

   defamation claims. Id. The court explained:

          “[S]ome broad statements of principle in case law [that] are not tied to
          particularized facts . . . can clearly establish law applicable in the future to
          different sets of detailed facts.” Vinyard v. Wilson, 311 F.3d 1340, 1351
          (11th Cir. 2002). But the principle must establish with “obvious clarity” that
          “in the light of pre-existing law the unlawfulness [of the official’s conduct
          is] apparent.” Id. at 1353. True, “it is ‘settled law’ that the government may
          not retaliate against citizens for the exercise of First Amendment rights.”
          Bennett, 423 F.3d at 1256. But that general principle does not resolve with
          “obvious clarity” that defamation may constitute retaliation in violation of
          the First Amendment. See also Reichle v. Howards, 566 U.S. 658, 665, 132
          S. Ct. 2088, 182 L. Ed. 2d 985 (2012) (rejecting the argument that “the
          general right to be free from retaliation for one’s speech” clearly establishes
          a violation of the First Amendment).



                                                 34
Case 1:21-cv-21537-JAL Document 51 Entered on FLSD Docket 10/04/2021 Page 35 of 45




   Id. at 1324-25. Consequently, the Eleventh Circuit held that Lawton lacked fair notice that

   his defamatory statements violated the Constitution, and therefore he enjoyed qualified

   immunity from Echols’s First Amendment retaliation claim.

          Here, too, Plaintiff relies on the broad principle that government officials cannot

   retaliate against citizens for exercising their First Amendment rights. (D.E. 41 at 19 (citing

   Bennett, 423 F.3d at 1256; Bailey, 843 F.3d at 483-85).) Pursuant to Echols, this broad

   principle does not apply to claims of (or resembling) defamation. 913 F.3d at 1324-25

   (holding that the “general principle does not resolve with ‘obvious clarity’ that defamation

   may constitute retaliation in violation of the First Amendment”). Therefore, the Court

   finds that prior to Echols, the alleged retaliatory conduct alleged in Count IV was not a

   violation of clearly established law. As such, Gretsas enjoys qualified immunity as to any

   alleged retaliatory speech that pre-dates the January 25, 2019 Echols decision.

          However, Gretsas appears to concede that Echols itself clearly established—for the

   first time in the Eleventh Circuit—that under certain circumstances, a government official

   violates the Constitution when (1) he engages in retaliatory speech against a citizen, and

   (2) such speech would likely deter a person of ordinary firmness from engaging in

   protected speech. (D.E. 35 at 20.) The question becomes whether the Echols decision was

   sufficient to provide Gretsas fair notice that the retaliatory conduct alleged in Count IV

   violated the Constitution, such that he does not enjoy qualified immunity for any alleged




                                                35
Case 1:21-cv-21537-JAL Document 51 Entered on FLSD Docket 10/04/2021 Page 36 of 45




   retaliatory conduct that occurred after January 25, 2019—the date on which the Eleventh

   Circuit decided Echols.5

          “A Government official’s conduct violates clearly established law when, at the time

   of the challenged conduct, ‘[t]he contours of [a] right [are] sufficiently clear’ that every

   ‘reasonable official would [have understood] that what he is doing violates that right.’”

   Ashcroft v. al-Kidd, 563 U.S. 731, 741 (2011) (quoting Anderson v. Creighton, 483 U.S.

   635, 640 (1987)). A case directly on point is not required, “but existing precedent must

   have placed the statutory or constitutional question beyond debate.” Id. “‘[C]learly

   established law’ should not be defined ‘at a high level of generality.’” White v. Pauly, __

   U.S. __, 137 S. Ct. 548, 552 (2017) (quoting al-Kidd, 563 U.S. at 731). Rather, “the clearly

   established law must be ‘particularized’ to the facts of the case.” Id. (quoting Anderson,

   483 U.S. at 640). The Court looks “only to binding precedent at the time of the challenged

   conduct—that is, ‘the decisions of the Supreme Court, the Eleventh Circuit, or the highest



          5
                  As previously discussed, Plaintiff

          can “demonstrate that the contours of the right were clearly established in one of
          three ways.” Loftus v. Clark-Moore, 690 F.3d 1200, 1204 (11th Cir. 2012)
          (alteration adopted) (citation and internal quotation marks omitted). First, he can
          point us to a “materially similar case [that] has already been decided.” Id. (citation
          and quotation marks omitted). Second, he can point us to “a broader, clearly
          established principle that should control the novel facts of the situation.” Id.
          (alterations adopted). Third, “the conduct involved in the case may so obviously
          violate the [C]onstitution that prior case law is unnecessary.” Id. at 1205
          (alterations adopted).

   Echols, 913 F.3d at 1324. In Echols, the Eleventh Circuit held that conduct of the type alleged in
   Count IV is not a violation of clearly established law under the second or third methods. Id. at
   1324-25. Accordingly, Plaintiff can only establish that Gretsas’s conduct was a violation of clearly
   established law under the first method.
                                                   36
Case 1:21-cv-21537-JAL Document 51 Entered on FLSD Docket 10/04/2021 Page 37 of 45




   court of the state.’” Echols, 913 F.3d at 1324 (quoting Bailey, 843 F.3d at 483). However,

   “a clearly established violation of state law cannot put an official on notice that his conduct

   would also violate the Constitution because ‘section 1983 protects only against violations

   of federally protected rights.’” Id. (quoting Casines v. Murchek, 766 F.2d 1494, 1501 n.10

   (11th Cir. 1985)).

          Gretsas argues that “the allegations in the instant case do not resemble the

   allegations made in Echols” such that “‘every reasonable official would have understood’

   at the time of the challenged conduct that Gretsas’s actions violated the First

   Amendment[.]” (D.E. 35 at 19-20 (quoting al-Kidd, 563 U.S. at 741).)

          Apparently conceding that there is no binding precedent clearly establishing that

   Gretsas’s conduct violated the Constitution—indeed, Plaintiff distinguishes Echols, (D.E.

   41 at 11-12)—Plaintiff argues that the broader, clearly established principle that

   government officials cannot retaliate against citizens for exercising their First Amendment

   rights controls. (D.E. 41 at 19.) However, as previously discussed, the Eleventh Circuit in

   Echols rejected that argument as it applies to claims of (or resembling) defamation. 913

   F.3d at 1324-25.

          The Court finds that the allegations in Echols are not sufficiently analogous to the

   allegations in this case such that they provided Gretsas with fair notice that his conduct

   violated the Constitution. Indeed, but for the fact that both cases involved claims for First

   Amendment retaliation, the allegations are not similar at all. In Echols, the Eleventh

   Circuit focused on the allegation that Lawton falsely told Georgia legislators—with actual

   malice—that Echols remained under indictment for kidnapping and rape when, in fact, the

                                                 37
Case 1:21-cv-21537-JAL Document 51 Entered on FLSD Docket 10/04/2021 Page 38 of 45




   indictment had been dismissed. 913 F.3d at 1321-23. Such conduct constituted actionable

   libel per se under Georgia law. Id. (citations omitted). The Eleventh Circuit observed: “If

   a district attorney defamed a former prisoner for seeking legislative compensation for his

   wrongful convictions and derailed that legislative effort, a person of ordinary firmness

   would likely be deterred from speaking again on that matter lest the prosecutor continue to

   tarnish his reputation or, worse, initiate a wrongful prosecution. So Echols’s complaint

   states a claim of retaliation under the First Amendment.” Id. at 1323.

          Without question, the conduct alleged in Echols bears no resemblance to the conduct

   alleged in Count IV. Rather, Count IV alleges that

          Plaintiff exercised his First Amendment rights to speech, press, and petition
          by speaking out critically online and to individuals who would listen about
          harassment and retaliatory [sic] following and [sic] investigations by HPD,
          due to his speaking about on [sic] waste, fraud, and/or abuse earlier, and
          Defendant Gretsas [sic] involvement therein. ¶¶26-28. Before and after
          running for office, Plaintiff spoke out about police harassment he endured.

   (Id. ¶ 89.)

          Defendant Gretsas retaliated against Plaintiff by preparing false and/or
          misleading information concerning Plaintiff in the Dossier, and by
          communicating the false and misleading materials to employees, elected
          officials, and residents to harm and defame Plaintiff. Defendant Gretsas this
          time provided all or parts of the Dossier to the Miami Herald who published
          the false and misleading information provided by Defendant Gretsas publicly
          damaging Plaintiff’s reputation. ¶¶38-45.

   (Id. ¶ 90.)

          Thus, whereas Echols involved retaliatory defamation by a prosecutor against a

   former prisoner seeking redress for spending seven years in prison for offenses that were

   subsequently dismissed, Count IV alleges retaliatory defamation by a City Manager against


                                               38
Case 1:21-cv-21537-JAL Document 51 Entered on FLSD Docket 10/04/2021 Page 39 of 45




   a political adversary who spoke out on issues of public concern. The Court finds that

   Echols is not sufficiently analogous to give Gretsas fair notice that his conduct clearly

   violated the Constitution. As such, he is entitled to qualified immunity as to Count IV. 6

   That Count is dismissed with prejudice. Helm, 523 F. App’x at 646 (finding that the district

   court “properly dismissed [the plaintiff’s] complaint with prejudice based on qualified

   immunity”).

          d.      Count V

          In Count V, Plaintiff alleges that the City of Homestead violated his civil rights by

   conducting a retaliatory investigation in response to Plaintiff’s exercise of his First

   Amendment rights, in violation of 42 U.S.C. § 1983. (D.E. 32 ¶¶ 95-111.) Specifically, it

   alleges that the City had a

          custom and practice consist[ing] of investigating Plaintiff, using official
          resources through improper channels and procedures, and repeatedly
          communicating the improperly gathered information with a false narrative to
          harm Plaintiff’s person, reputation, and career, and even going so far as to
          contact Plaintiff’s employer leading to his forced resignation, all in
          retaliation for Plaintiff’s continued exercise of his [F]irst Amendment rights
          to speech, press, and petition.

   (Id. ¶ 108.)

          The City argues that Plaintiff has not and cannot state a claim for municipal liability

   under Monell because (1) there is no underlying constitutional violation, (D.E. 36 at 11-




          6
                  The Court does not condone Gretsas’s alleged conduct. See Echols, 913 F.3d at
   1325 (condemning Lawton’s alleged conduct). Rather, the Court’s ruling on this issue reflects
   only that “qualified immunity protects a badly behaving official unless he had fair notice that his
   conduct would violate the Constitution[.]” Id. (citing District of Columbia v. Wesby, __ U.S. __,
   138 S. Ct. 577, 589-91 (2018); Kisela v. Hughes __ U.S. __, 138 S. Ct. 1148, 1152 (2017)).
                                                   39
Case 1:21-cv-21537-JAL Document 51 Entered on FLSD Docket 10/04/2021 Page 40 of 45




   12), and (2) he has failed to allege an unofficial custom or practice of constitutional

   violations under the “final policymaker” theory, (id. at 12-16).

          Plaintiff argues that the Second Amended Complaint adequately alleges a Monell

   claim because it alleges that “the City, acting through its manager and/or police chief, had

   a custom or policy that constituted and evinced deliberate indifference to Plaintiff’s

   constitutional rights, and said policy caused damages to Plaintiff[.]” (D.E. 40 at 15 (citing

   Second Am. Compl. ¶¶ 6-7, 97, 99, 107-10).) He further argues that “[t]he policy consisted

   of investigating Plaintiff through use of governmental resources without probable cause,

   and to use and communicate to the public the improperly gathered information to harm

   Plaintiff and to intimidate him and retaliate against Plaintiff for speaking his mind[.]” (Id.

   (citing Second Am. Compl. ¶¶ 29-54, 108).) He further argues that the Second Amended

   Complaint properly alleges municipal liability under a “final policymaker” theory because

   it alleges that Gretsas was the City’s final policymaker and that Gretsas engaged in and

   ordered the constitutional violations. (Id. at 18-19.)

          In Reply, the City argues that Count V fails to state a Monell claim because there is

   no underlying Constitutional violation. (D.E. 43 at 8-10.)

          It is well settled that a municipality cannot be held liable under Section 1983 for its

   employees’ torts under the theory of respondeat superior. Monell, 436 U.S. at 691.

   “Instead, to impose § 1983 liability on a municipality, a plaintiff must show: (1) that his

   constitutional rights were violated; (2) that the municipality had a custom or policy that

   constituted deliberate indifference to that constitutional right; and (3) that the policy or



                                                40
Case 1:21-cv-21537-JAL Document 51 Entered on FLSD Docket 10/04/2021 Page 41 of 45




   custom caused the violation.”7 McDowell v. Brown, 392 F.3d 1283, 1289 (11th Cir. 2004)

   (citing City of Canton v. Harris, 489 U.S. 378, 388 (1989)). Because the Court finds that

   the Second Amended Complaint fails to allege a constitutional violation, the Court confines

   its analysis to that issue.

          The City argues that Count V must be dismissed because it fails to allege an

   underlying constitutional violation. (D.E. 36 at 11-12.) In this regard, it argues that Count

   V is premised on an alleged retaliatory investigation, but the Eleventh Circuit has held that

   the initiation of an investigation is not a constitutional violation. (Id. at 12 (citing Rehberg,

   611 F.3d at 850).)

          In his Response, Plaintiff argues that the Second Amended Complaint alleges that

   the City

          had a custom or policy that constituted and evinced deliberate indifference
          to Plaintiff’s constitutional rights, and said policy caused damages to Plaintiff
          (¶¶6, 97, 99, 107-110; 7). The policy consisted of investigating Plaintiff
          through use of governmental resources without probable cause, and to use
          and communicate to the public the improperly gathered information to harm
          Plaintiff and to intimidate[8] him and retaliate against Plaintiff for speaking
          his mind (¶¶29-54, 108).

          7
                     A plaintiff may establish a municipal custom or practice in at least the following
   ways: (1) identifying an officially promulgated municipal policy, Hoefling v. City of Miami, 811
   F.3d 1271, 1279 (11th Cir. 2016) (citing Monell, 436 U.S. at 661, 694-95; McKusick v. City of
   Melbourne, 96 F.3d 478, 483 (11th Cir. 1996)); (2) showing that the municipality’s “final
   policymakers[7] have acquiesced in a longstanding practice that constitutes the entity’s standard
   operating procedure,” id. (citing Bd. of Cty. Comm’rs v. Brown, 520 U.S. 394, 403-04 (1997));
   Brown v. City of Ft. Lauderdale, 923 F.2d 1474, 1481 n.11 (11th Cir. 1991)); (3) showing that a
   final policymaker has adopted or ratified the unconstitutional decision of a subordinate public
   official, id. (citing Matthews v. Columbia Cty., 294 F.3d 1294, 1297 (11th Cir. 2002)); and (4) in
   “limited circumstances,” a failure to adequately train or supervise employees, Gold v. City of
   Miami, 151 F.3d 1346, 1350 (11th Cir. 1998) (quoting City of Canton, 489 U.S. at 387).
          8
               The Second Amended Complaint does not allege that Gretsas engaged in First
   Amendment retaliation to intimidate Plaintiff.
                                                   41
Case 1:21-cv-21537-JAL Document 51 Entered on FLSD Docket 10/04/2021 Page 42 of 45




   (D.E. 40 at 15.) Thus, Plaintiff argues that the Second Amended Complaint alleges two

   Constitutional violations: (1) retaliatory investigation and (2) Gretsas’s retaliatory speech.

          In its Reply, the City argues that “there is no question that the City is free to use

   governmental resources to conduct investigations, whether or not probable cause exists,

   which the Eleventh Circuit has explicitly recognized.” (Id. (citing Rehberg, 611 F.3d at

   850 n.24 (citing United States v. Aibejeris, 28 F.3d 97, 99 (11th Cir. 1994)).) It further

   argues that Plaintiff’s claim that “[c]ommunication of information within the City and to

   third-parties—or rather, the decision to communicate such information—simply does not

   rise to the level of a municipal custom or policy.” (Id. at 9.) It argues that

          [t]he mere exercise of discretion by an employee about who he or she speaks
          to or the content of that speech does not give rise to a constitutional violation
          under Monell—and Plaintiff offers no authority that reflecting that such a
          claim can rise to the level of a final policymaker action. Logic dictates that
          he cannot, as the result would be indistinguishable from respondeat superior
          liability.

   (Id. (citing City of St. Louis v. Praprotnik, 485 U.S. 112, 126 (1988); Quinn v. Monroe

   Cnty., 330 F.3d 1320, 1326 (11th Cir. 2003); S. Atl. Cos., LLC v. Sch. Bd. of Orange Cnty.,

   Fla., 699 F. App’x 842, 846 (11th Cir. 2017)).)

          First, the Court finds that to the extent Count V is premised on a retaliatory

   investigation, it fails to state a claim for municipal liability under Section 1983. Rehberg,

   611 F.3d at 850 n.24.

          The initiation of a criminal investigation in and of itself does not implicate a
          federal constitutional right. The Constitution does not require evidence of
          wrongdoing or reasonable suspicion of wrongdoing by a suspect before the
          government can begin investigating that suspect. See United States v.


                                                 42
Case 1:21-cv-21537-JAL Document 51 Entered on FLSD Docket 10/04/2021 Page 43 of 45




          Aibejeris, 28 F.3d 97, 99 (11th Cir. 1994). No § 1983 liability can attach
          merely because the government initiated a criminal investigation.

   Id. Moreover, a government official’s “retaliatory animus does not create a distinct

   constitutional tort.” Id. at 850.

          Second, the Court finds that to the extent Count V is premised on Gretsas’s

   retaliatory speech, it fails for the reasons explained in Section III(c)(1), supra. Specifically,

   the Second Amended Complaint fails to allege that Gretsas’s speech amounted to a threat,

   coercion, or intimidation intimating that punishment, sanctions, or adverse regulatory

   action will imminently follow. See Suarez Corp., 202 F.3d at 687; Mirabella, 853 F.3d at

   651; Mulligan, 835 F.3d at 990; Goldstein, 719 F.3d at 30; Hutchins, 661 F.3d at 956; X-

   Men, 196 F.3d at 70;9 Colson, 174 F.3d at 512; Penthouse Int’l, 939 F.2d at 1015; Echols,

   2017 WL 3206629, at *7 (S.D. Ga. July 28, 2017).

          Because the Second Amended Complaint fails to allege a Constitutional violation,

   Count V fails to state a claim for municipal liability under Monell. See Aracena v. Gruler,

   347 F. Supp. 3d 1107, 1120 (M.D. Fla. 2018) (finding that because the amended complaint

   failed to allege an underlying constitutional violation, the plaintiff failed to state a claim

   for municipal liability under Monell).




          9
                  As discussed in Note 4, supra, in X-Men, the Second Circuit noted that in certain
   unrelated contexts, speech by a public official need not rise to the level of threat, intimidation, or
   coercion to be actionable under Section 1983 where the speech is uttered by a “decisionmaker.”
   196 F.3d at 70 (citing Vickery, 100 F.3d at 1345; id. at 71 (citing Yonkers Bd. of Ed., 837 F.2d at
   1223-26 (2d Cir. 1987)). However, the Second Circuit cases are inapplicable, and in any event, in
   the Eleventh Circuit, municipal liability can only arise from a custom or policy attributable to the
   city’s final “policymaker.” See Quinn, 330 F.3d at 1325-26. A decision by a city’s
   “decisionmaker” can only give rise to individual liability. Id. at 1326-27.
                                                    43
Case 1:21-cv-21537-JAL Document 51 Entered on FLSD Docket 10/04/2021 Page 44 of 45




   IV.    Conclusion

          The Court’s July 26, 2021 Order dismissing the First Amended Complaint explicitly

   stated that it was providing “Plaintiff leave to make a final amendment to cure all

   deficiencies, if [he is] able to so.” (D.E. 31 (emphasis in original).) Because Plaintiff failed

   to cure all the deficiencies, and because the individual Defendants are entitled to qualified

   immunity, the Second Amended Complaint shall be dismissed with prejudice. See Fernau

   v. Beauty Prods., Inc., 847 F. App’x 612, 615, 623 (11th Cir. 2021) (affirming dismissal

   with prejudice of second amended complaint after district court warned the plaintiffs that

   if they were unable to adequately plead their claims in a second amended complaint, the

   court would be inclined to grant a motion to dismiss with prejudice).

          Accordingly, it is ORDERED AND ADJUDGED that:

          1.     Defendant George Gretsas’s Motion to Dismiss Second Amended Complaint

                 (D.E. 35) is GRANTED;

          2.     The Homestead Defendants’ Motion to Dismiss Second Amended Complaint

                 with Prejudice (D.E. 36) is GRANTED;

          3.     The Second Amended Complaint is DISMISSED WITH PREJUDICE;

          4.     All pending motions are DENIED AS MOOT; and




                                                 44
Case 1:21-cv-21537-JAL Document 51 Entered on FLSD Docket 10/04/2021 Page 45 of 45




           5.   This case is now CLOSED.

           DONE AND ORDERED in Chambers at Miami, Florida this 4th day of October,

   2021.


                                        ____________________________________
                                        JOAN A. LENARD
                                        UNITED STATES DISTRICT JUDGE




                                           45
